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                                                                  U.S. Department of Justice


                                                                        United States Attorney
                                                                      Northern District of Ohio

                                                                          Un ited States Court House
                                                                801 West Superior Avenue, Suite 400
                                                                       Cleveland, Ohio 4411 3-1852
                                                                                Main: 216-622-3600
                                                                          Facsimile: 216-522-4982



                                                                           December 10, 2018

Joseph Rannazzisi

Annandale, VA 22003

              Re: Subpoena in In re: National Prescription Opiate Litigation, MDL No.
                  2804 (N.D. Ohio)

Dear Mr. Rannazzisi:

        You have been requested by counsel for defendants in the above captioned case to
appear at a deposition and testify regarding official Department of Justice information.
The Drug Enforcement Administration (DEA) was notified of this request and has stated
that it has no objections to a limited authorization as set forth below for you to appear and
testify. Therefore, pursuant to 28 C.F.R. § 16.24, you are hereby authorized to appear and
to give non-privileged, factual testimony within your personal knowledge regarding the
following:

       1.     Your general employment history with the DEA;

       2.     Your general duties in your various positions held in DEA;

       3.     Your personal recollection of your communications with DEA registrants
              about what makes an order "suspicious" under 21 C.F.R. § 1301.74,
              including the letters you authored in 2006 and 2007;

       4.     Your personal recollection of advice you provided third-parties regarding
              registrants ' obligation to monitor orders placed with third-party registrants;

       5.     Your personal recollection regarding your interactions with manufacturers
              and distributors of opioids during your tenure at the Office of Diversion
              Control;

       6.     Your personal recollection regarding DEA's practices and procedures
              relating to ARCOS data and suspicious order reports;
                                                                                         GOVERNMENT
                                                                                           EXHIBIT

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       7.     Your personal recollection of requests that DEA may have received from
              registrants for de-identified ARCOS data and any responses by DEA
              thereto;

       8.     Your role within DEA in establishing procurement and manufacturing
              quotas for opioid medications;

       9.    Any information regarding the non-privileged documents you obtained in
             the course of your DEA employment that you retained at the time of your
             departure;

       10.   Your personal recollection regarding "DEA's interpretation and
             enforcement of, and practices related to 21 U.S.C. § 823 and 21 C.F.R. §
             1301. 74" and "DEA' s interpretation, enforcement, and practices regarding
             the obligation to monitor orders" to the extent covered by the foregoing
             authorized specific topics.

       With regard to these authorized areas of testimony, you are not authorized to
disclose any information that would disclose privileged information, including, but not
limited to, the following:

      A. Information regarding any specific DEA investigations or activities;

      B. Classified and classifiable information;

      C. Information that would reveal the internal deliberative process within the
         United States Department of Justice, including the DEA, the United States
         Attorney's Office, and/or any other federal departments or agencies;

      D. Information that would reveal a confidential source or informant;

      E. Information the disclosure of which would violate a statute, including laws
         governing grand jury proceedings;

      F. Information that could threaten the lives or safety of any individual, including
         home addresses of law enforcement personnel;

      G. Information that could interfere with ongoing investigations and/or
         prosecutions;

      H. Information that could reveal investigative or intelligence gathering and
         dissemination techniques whose effectiveness would be thereby impaired;

      I. Privileged attorney-client information;




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       J. Information that would reveal attorney work product or matters of prosecutorial
          discretion;

       K. Expert opinion testimony related to non-public facts or information acquired as
          part of your performance of your official duties ;

       L. Personal opinions regarding non-public facts or information acquired as part of
          your performance of your official duties; and

       M. Any non-public recommendations you made or you were aware of concerning
          any proposed agency action.

       If you are asked to testify beyond the limits stated above, you should respectfully
decline to answer and explain that 28 C.F.R. § 16.22(a) precludes you from doing so.
Further, you are not authorized to disclose official information on any other subject. If
you have any questions, please do not hesitate to contact DEA Assistant Deputy Chief
Counsel Sandra Stevens or Assistant U.S. Attorney James Bennett (216-622-3988).




                                   Executive Assistant United States Attorney
                                   Office of the United States Attorney
                                   Northern District of Ohio
                                   Acting Under Authority Conferred by 28 U.S.C. § 5 15




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